  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 1 of 13                          PageID #: 1




                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE

STEPHANIE WOOD,

     Plaintiff,

        v.                                                Civil Action No.

CHIROPRACTIC CENTER, PA d/b/a
WALDOBORO CHIROPRACTIC & SPA,
P.A., d/b/a WALDOBORO CHIROPRACTIC
& MASSAGE

     Defendant.

                                          COMPLAINT
                                     JURY TRIAL REQUESTED
                                   INJUNCTIVE RELIEF SOUGHT

                                    JURISDICTION AND PARTIES

       1.         This action arises under the False Claims Act, 31 U.S.C. §§ 3729, et seq.

       2.         Stephanie Wood (“Ms. Wood”) is a United States citizen residing in the State of

Maine, County of Lincoln, Town of Waldoboro.

       3.         Chiropractic Center, PA d/b/a Waldoboro Chiropractic & Spa, P.A., d/b/a

Waldoboro Chiropractic & Massage (“Waldoboro Chiropractic”) was a Maine business

corporation that had a place of business in State of Maine, County of Lincoln, Town of

Waldoboro.

       4.         This Court has subject matter jurisdiction over Ms. Wood’s claim pursuant to 28

U.S.C. §§ 1331 and 1367.

                                      JURY TRIAL REQUESTED

       5.         Ms. Wood requests a trial by jury for all claims and issues for which a jury is

permitted.
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 2 of 13                    PageID #: 2




                                  FACTUAL ALLEGATIONS

         6.    Waldoboro Chiropractic provided Chiropractic, Physiotherapy, Chiropractic

Acupuncture and Massage Therapy services to the public.

         7.    Dr. Tillou is a Chiropractor and the owner of Waldoboro Chiropractic.

         8.    Ms. Wood began working for Waldoboro Chiropractic in October 2017.

         9.    Ms. Wood was the Office Manager and a Chiropractic Assistant.

         10.   Ms. Wood’s final rate of pay was $21 per hour. She worked 32-34 hours per week

prior to the COVID-19 pandemic.

         11.   Dr. Tillou hired another Chiropractor, Matt Thomas, in January 2020.

         12.   Ms. Wood began to have concerns about billing issues after Dr. Thomas was

hired.

         13.   Defendant submitted bills to Medicare as well as to private insurance companies.

         14.   Ms. Wood’s concerns included but are not limited to the following:

               a. Dr. Tillou told Ms. Wood and Dr. Thomas that he was not charging enough.

                  Dr. Tillou told Dr. Thomas to include certain billing codes with every visit,

                  e.g., ultrasound of back. Dr. Thomas objected, and told Dr. Tillou that he

                  would not charge for a service or procedure he did not provide. Dr. Tillou told

                  Ms. Wood and Dr. Thomas, “I don’t care, bill for it anyway.”

               b. When Dr. Thomas did not include the automatic billing codes on his bills, Dr.

                  Tillou would go back in and add the code before the bill was submitted.

               c. Dr. Tillou billed for services allegedly provided by Dr. Thomas in December

                  2019, before he even started in January 2020.




                                                2
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 3 of 13                        PageID #: 3




               d. Dr. Tillou would add comments to patients’ records who were being treated

                   for workers’ comp injuries to justify providing continued services that were

                   not needed. For example, Dr. Thomas would write that the patient was feeling

                   better. Dr. Tillou would change his note to indicate that the patient was not

                   feeling better and required additional treatment.

               e. In February 2020, Ms. Wood talked to a claims adjuster about Dr. Tillou’s

                   practice of changing notes on patients’ records because the adjuster

                   questioned why the original notes (which the adjuster had seen) were

                   subsequently changed.

               f. Dr. Tillou would omit or take out references to patients’ use of opioid

                   medications in notes provided to workers’ compensation insurance carriers.

               g. Dr. Tillou would bill for services to the employer’s workers’ compensation

                   insurance carrier and to the patient’s private insurance, i.e., double bill.

               h. At one point, Dr. Tillou was suspended from submitting bills to Medicare, so

                   she changed the dates on some bills to incorrectly reflect that service was

                   provided during a period of time before she was suspended, and submitted the

                   bills for payment.

       15.     On April 2, 2020, Ms. Wood asked for and was granted permission to take time

off to avoid exposure to COVID-19.

       16.     Ms. Wood is at high risk because of the immune suppressant medication she takes

for rheumatoid arthritis and her rheumatologist advised her to stay at home if possible.




                                                  3
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 4 of 13                      PageID #: 4




       17.     Dr. Tillou gave Ms. Wood permission to take some time off. Dr. Tillou told Ms.

Wood to file for unemployment and write “lack of work” and “COVID-19” as the reason for

leaving.

       18.     The plan was for Ms. Wood to come back to work and continue managing the

office. Dr. Tillou planned to retire in the fall. Dr. Thomas was going to take over the practice and

Ms. Wood was going to continue working there as the office manager.

       19.     At that time, Dr. Tillou did not ask Ms. Wood if account billing was up to date.

       20.     Dr. Tillou did not express any concerns about Ms. Wood’s job performance.

       21.     When Ms. Wood was hired, there were four employees handling administrative

tasks that, over time, were performed by only one person.

       22.     Ms. Wood told Dr. Tillou several times that she was one person doing the job of

four people and that she was doing her best.

       23.     While Ms. Wood was laid off in April 2020, the chiropractic office did not close.

       24.     Dr. Tillou and another Chiropractic Assistant kept working.

       25.     The business stopped providing massages until June 2020, when three massage

therapists returned to work.

       26.     While Ms. Wood was laid off due to COVID-19, Dr. Tillou brought someone in

to help in the office. The new office assistant handled the billing, reception, and scheduling.

       27.     On May 4, 2020, Dr. Tillou reached out to Ms. Wood via text suggesting a

schedule upon her return. She wrote, in part:

       “So I’m thinking your return to work schedule will be Tuesday and Thursday 9-2.
       You will continue on unemployment and just have to indicate the earnings on
       your weekly filing. You will be the only one in the building….”

       28.     Ms. Wood returned to work on about May 15, 2020.



                                                 4
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 5 of 13                       PageID #: 5




       29.       The new office assistant worked five days per week but her schedule did not

overlap with Ms. Wood’s schedule.

       30.       Work on accounts receivable and accounts payable had fallen behind during Ms.

Wood’s absence. There were problems that arose while she was absent.

       31.       Ms. Wood worked hard to bring the accounts current and fix problems.

       32.       Dr. Tillou did not raise any concerns about Ms. Wood’s job performance.

       33.       The plan moved forward to have Dr. Thomas take over the practice/business

when Dr. Tillou retired in the fall.

       34.       Ms. Wood had a good faith belief that Dr. Tillou was submitting false claims to

Medicare.

       35.       Ms. Wood discussed the false claims with Dr. Thomas.

       36.       Ms. Wood provided information to Dr. Thomas about the suspicious bills and he

reported their concerns to the Maine Department of Professional and Financial Regulation,

Office of Professional & Occupational Regulation, Complaint Division, on about June 2, 2020.

       37.       Upon information and belief, Dr. Thomas quit his job with Defendant upon advice

of counsel because of the false claims.

       38.       On about June 14, 2020, Ms. Wood received a text from Dr. Tillou stating she (Dr.

Tillou) received information that she (Ms. Wood) filed a complaint against her with the State.

       39.       Dr. Tillou ended her initial message by saying, “Sorry it had to end this way.”

They exchanged the following messages:

   Dr. Tillou:          So today I got a complaint to the licensing board from you and Matt
                        [Thomas] accusing me of stuff that I did not do. I have never billed
                        for a service that I did not do. I have never billed an appointment that
                        did not happen. As far as I know we did not bill under Matt’s license
                        due to CACQ? Problems. I have always wanted accuracy in patient
                        accounts. I never changed any of his notes. Medicare does get billed

                                                  5
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 6 of 13                       PageID #: 6




                        for therapies rendered. So I will be responding to this. Sorry it had to
                        end this way.

   Me:                  No I filed nothing with the board. What is ending.

   Dr. Tillou:          Then Matt filed it in your name

   Me:                  Well, I didn’t file anything.




   Dr. Tillou:          Is this your signature?

   Me:                  Yep

   Dr. Tillou:          So you gave documentation to Matt and he filed against my license

   Me:                  He had questions I answered

   Dr. Tillou:          Did you give him a written signed statement

   Me:                  With the info he asked for yes

       40.       Dr. Tillou did not answer Ms. Wood’s question about what was ending, so the

following day, June 15, 2020, Ms. Wood asked her again. They exchanged these messages:

   Me:                  You had mentioned yesterday you are sorry it had to end this way. I’ve
                        asked a few times and you’ve yet to clarify if you are ending my
                        employment

   Dr. Tillou:          You will remain on unemployment. Your letter is in the mail

       41.       A day or so later, Ms. Wood received a letter from Dr. Tillou dated June 15, 2020,

that read: “Dear Stephanie; This is your notice of permanent termination of your job at

Waldoboro Chiropractic Center, PA. Debra Tillou, DC.”
                                                   6
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 7 of 13                      PageID #: 7




       42.     After Ms. Wood was terminated, she asked Dr. Tillou (through counsel) to

provide the reason for her termination in writing. Dr. Tillou replied in a letter dated July 15, 2020:

       “…Stephanie was put back on unemployment, early June. The business will close in
       September.

       “With the business permanently closing, the office is now under full audit on all
       patient accounts. There is a protocol for closing a medical office, and we are following
       those guidelines. There is evidence that the patient accounts are not correct, insurance
       rejected billing has pooled in Ability since 2019 waiting for corrections, claims were not
       processed right in rolling deductibles to patients and taking the claim out, claims were
       paid on by insurance and not posted so they remain open when they should have
       been closed, and many account adjustments, establishing evidence that Stephanie was
       not performing her job on office accounts, as expected.

       “Stephanie never indicated that she was having problems with the duties of her Job
       Description as Office Manager. . . . She apparently did not like working for the business
       and one has to assume the financial misconduct listed above, was intentional.
       Stephanie was terminated on June 15 for not doing her job.” [Emphasis in the original.]

       43.     The stated reason for Ms. Wood’s termination is false and pretextual.

       44.     There were no complaints about her job performance or conduct before Dr. Tillou

learned that Ms. Wood assisted Dr. Thomas in reporting her false claims to the State agency that

regulates Chiropractors.

       45.     There were no complaints about Ms. Wood’s job performance or conduct prior to

her protected activity.

       46.     Ms. Wood was terminated because she engaged in protected activity.

       47.     Defendant told the Maine Human Rights Commission (“MHRC”) that Ms. Wood

and the rest of the staff had been on unemployment since the second week of March 2020. That

is misleading. Ms. Wood was laid off in April and returned to work on May 15, 2020. She

worked about two days per week, 5 hours per day, until she was fired on June 14, 2020.

       48.     Defendant told the MHRC that the office was permanently closed due to COVID-

19. That is misleading. Waldoboro Chiropractic would have continued to operate under Dr.

                                                  7
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 8 of 13                      PageID #: 8




Tillou’s management until she retired in the fall of 2020. The plan was for Dr. Thomas to take

over management of the practice and for Ms. Wood to continue managing the office. Those plans

changed as a direct and proximate result of Dr. Thomas and Ms. Wood reporting Dr. Tillou’s

fraudulent billing practices to the State.

       49.     Plaintiff has established a False Claims Act retaliation claim in that (1) she

engaged in protected activity, (2) Defendant was aware of her protected activity and (3) she was

discriminated against because of the protected activity.

       Protected activity

       50.     Ms. Wood had reasonable cause to believe that Dr. Tillou was committing

Medicare fraud and other illegal acts including billing for services that were not provided, billing

of unnecessary services, and misrepresenting dates of service. Federal regulations set forth the

minimum standards and types of chiropractic services that are billable. See

https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/bp102c15.pdf.

       51.     It was reasonable for Ms. Wood to suspect that Dr. Tillou was committing

Medicare fraud given that Dr. Tillou had been suspended from submitting bills to Medicare in

the past and the behavior was fraudulent on its face.

       52.     Ms. Wood discussed the fraudulent billing issues with Dr. Thomas. They were

both concerned about the fraud and were motivated to make it stop.

       53.     Ms. Wood believed that Defendant was defrauding Medicare and Medicaid by

submitting claims and receiving payments that were inappropriate and fraudulent.

       54.      Ms. Wood provided information to Dr. Thomas about the suspicious bills in an

effort to stop Defendant’s illegal conduct.




                                                 8
  Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 9 of 13                   PageID #: 9




         55.   Dr. Tillou did not promptly correct her illegal billing practices when Dr. Thomas

objected. For example, when Dr. Thomas told Dr. Tillou that he would not charge for a service

or procedure he did not provide, Dr. Tillou told Ms. Wood and Dr. Thomas, “I don’t care, bill for

it anyway.”

         56.   Acting, in good faith, on his own behalf and on behalf of Ms. Wood, Dr. Thomas

reported their mutual concerns to a public body, i.e., the Maine Department of Professional and

Financial Regulation, Office of Professional & Occupational Regulation, Complaint Division, on

about June 2, 2020.

         57.   Ms. Wood took steps that could reasonably lead to a False Claims Act claim.

         58.   Ms. Wood reported what she reasonably believed to be fraudulent activity to a

supervisor.

         59.   Ms. Wood made efforts to stop what she reasonably believed to be Medicare

fraud.

         Adverse action

         60.   Dr. Tillou was notified of the complaint Ms. Wood and Dr. Thomas made to the

Department of Professional and Financial Regulation, Office of Professional & Occupational

Regulation on about June 14, 2020 and responded by promptly firing Ms. Wood.

         Causal connection

         61.   Timing supports a causal connection between Ms. Wood’s protected activity and

the adverse employment action in this case.

         62.   In addition, Dr. Tillou admitted that she terminated Ms. Wood because of her

protected activity.




                                                9
 Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 10 of 13                    PageID #: 10




       63.     When Dr. Tillou told Ms. Wood she was fired, it was clear that the reason for

termination was due to Ms. Wood’s protected activity.

       64.     On about June 14, 2020, Ms. Wood received a text from Dr. Tillou stating she

received information that she (Ms. Wood) filed a complaint against her with the State. Dr. Tillou

ended her initial message by saying, “Sorry it had to end this way.”

       65.     A day or so later, Ms. Wood received a letter from Dr. Tillou dated June 15, 2020,

that read: “Dear Stephanie; This is your notice of permanent termination of your job at

Waldoboro Chiropractic Center, PA. Debra Tillou, DC.”

       Legitimate, non-discriminatory reason

       66.     One month later, after Ms. Wood was terminated, she asked Dr. Tillou (through

counsel) to provide the reason for her termination in writing.

       67.     Dr. Tillou replied in a letter dated July 15, 2020 that (a) Ms. Wood remained on

unemployment, (b) the business was closing in September 2020, (c) she discovered that Ms.

Wood was not performing her job duties satisfactorily, and (d) she alleged that Ms. Wood

engaged in intentional financial misconduct against her business.

       Pretext to cover up unlawful termination

       68.     Dr. Tillou’s original reason for terminating Ms. Wood was overtly illegal. Dr.

Tillou’s later, stated reasons for termination are false and pretextual.

       69.     First: The stated reasons for termination all occurred after Ms. Wood was fired.

They do not explain why Ms. Wood was fired.

       70.     Second: Ms. Wood asked for, and received, permission to take time off beginning

on April 2, 2020 because she is at high risk for serious illness or death if she contracted COVID-

19. Ms. Wood was not responsible for office work that was performed (or not performed) while



                                                  10
 Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 11 of 13                      PageID #: 11




she was out of the office. (Dr. Tillou brought someone in to help in the office. The new office

assistant handled the billing, reception, and scheduling.)

        71.       Third: As of the time Ms. Wood was fired, the plan was for Ms. Wood to come

back to work and continue managing the office. Dr. Tillou planned to retire in the fall. Dr.

Thomas was going to take over the practice and Ms. Wood was going to continue working there

as the office manager.

        72.       Fourth: At no time prior to her termination did Dr. Tillou ask Ms. Wood if

account billing was up to date. Dr. Tillou did not express any concerns about Ms. Wood’s job

performance or conduct before Dr. Tillou learned that Ms. Wood assisted Dr. Thomas in

reporting her fraudulent billing practices to the State agency that regulates Chiropractors.

        73.       Fifth: On May 4, 2020, Dr. Tillou reached out to Ms. Wood via text suggesting a

schedule upon her return.

        74.       Sixth: Ms. Wood returned to work on about May 15, 2020. The new office

assistant worked five days per week. Their schedules did not overlap. Work on accounts

receivable and accounts payable had fallen behind during Ms. Wood’s absence. There were

problems that arose while she was absent. Ms. Wood worked hard to bring the accounts current

and fix problems. Dr. Tillou did not raise any concerns about Ms. Wood’s job performance.

They continued moving forward as before with the plan to have Dr. Thomas take over when Dr.

Tillou retired in the fall.

        75.       In sum, the subsequent “legitimate” reasons for Ms. Wood’s termination are false

and pretextual.

        76.       Dr. Tillou terminated Ms. Wood from employment because she engaged in

protected activity in violation of the FCA.



                                                  11
 Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 12 of 13                        PageID #: 12




                                    COUNT I: FCA Retaliation

       77.    Paragraphs 1-76 are incorporated by reference.

       78.    The anti-retaliation provisions of the FCA make it unlawful to discharge, suspend,

threaten, harass, or in any other manner discriminate against an employee in the terms and

conditions of employment because of lawful acts done by the employee in an effort to stop a

violation of the FCA.

       79.    Defendant’s conduct violates the FCA.

                                      PRAYER FOR RELIEF

       Plaintiff respectfully requests that the Court grant the following relief:

              A.        Declare the conduct engaged in by Defendant to be in violation of her

              rights;

              B.        Enjoin Defendant, their agents, successors, employees, and those acting

              in concert with it from continuing to violate her rights;

              C.        Order Defendant to reinstate Plaintiff or award front pay to Plaintiff;

              D.        Award lost future earnings to compensate Plaintiff for the diminution in

              expected earnings caused by Defendant’s retaliation;

              E.        Award equitable-relief for back pay, benefits and prejudgment interest;

              F.        Award compensatory damages in an amount to be determined at trial;

              G.        Award punitive damages in an amount to be determined at trial;

              H.        Award liquidated damages in an amount to be determined at trial;

              I.        Award nominal damages;

              J.        Award attorney’s fees, including legal expenses, and costs;

              K.        Award prejudgment interest;



                                                 12
Case 2:21-cv-00113-NT Document 1 Filed 04/27/21 Page 13 of 13                   PageID #: 13




           L.      Permanently enjoin Defendant from engaging in any employment

           practices that violate the FCA;

           M.      Require Dr. Tillou to mail a letter to all employees notifying them of the

           verdict against Defendant and stating that Defendant will not tolerate retaliation

           in the future;

           N.      Require that Defendant post a notice in all of their workplaces of the

           verdict and a copy of the Court’s order for injunctive relief;

           O.      Require that Defendant train all management level employees on the

           protections afforded by the FCA;

           P.      Require that Defendant place a document in Plaintiff’s personnel file

           which explains that Defendant unlawfully terminated her because of retaliation;

           and

           Q.      Grant to Plaintiff such other and further relief as may be just and proper.



    Dated: April 27, 2021                         /s/ Chad T. Hansen
                                                  Chad T. Hansen
                                                  Attorney for the Plaintiff

                                                  EMPLOYEE RIGHTS GROUP
                                                  92 Exchange Street 2nd floor
                                                  Portland, Maine 04101
                                                  Tel. (207) 874-0905
                                                  Fax (207) 874-0343
                                                  chad@employeerightslaw.attorney




                                             13
